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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   TRENTON DIVISION

THE INDEPENDENCE PROJECT, INC., a New
Jersey Non Profit Corporation, and RONALD
MOORE, Individually,

               Plaintiffs,                              Case No.
vs.

MANTOLOKING ASSOCIATES, L.L.C., a New
Jersey Limited Liability Company,

               Defendant.


                                        COMPLAINT

       Plaintiffs, THE INDEPENDENCE PROJECT, INC., a New Jersey Non Profit

Corporation, and RONALD MOORE, Individually, on their behalf and on behalf of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff' or

"Plaintiffs"), hereby sue the Defendant, MANTOLOKING ASSOCIATES, L.L.C., a New Jersey

Limited Liability Company, (sometimes referred to as "Defendant"), for Injunctive Relief,
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damages, attorney's fees, litigation expenses, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. ("ADA") and the New Jersey Law Against

Discrimination (N.J.S.A.).

                                COUNT I
                      VIOLATION OF TITLE III OF THE
            AMERICANS WITH DISABILITIES ACT. 42 USC S 12181, etsea.

1.     Plaintiff, Ronald Moore, is an individual resi ding at 100 2 Central Ave., New P rovidence,

       NJ 07974, in the County of Union.

2.     Plaintiff, THE INDEPENDENCE PROJECT, INC., is a nonprofit corporation formed

       under the laws of the State of New Jersey. THE INDEPENDENCE PROJECT, INC.

       maintains its principal office at 1002 Central Ave., New Providence, NJ 07974, in the

       County of Union.

3.     Defendant, MANTOLOKING ASSOCIATES, L.L.C., a New Jersey Limited Liability

       Company, holds title to the subject property alleged by the Plaintiffs to be operating in

       violation of Title III of the ADA.

4.     Defendant's property, Mantoloking Village Plaza is located at 602 Mantoloking Road,

       Brick, NJ 08723, in the County of Ocean.

5.     Venue is properly located in the District of New Jersey bec ause venue lies in the judicial

       district of the property situs. The Defendant's property is located in and does business

       within this judicial district.

6.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been giv en original

      jurisdiction over actions which arise from the Defendant's violations of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 121 81 et seq. See also 28 U.S.C. § 2201

      and § 2202.



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7.    Plaintiff, Ronald Moore is a New Jersey resident, is sui juris, and qualifies as an

      individual with disabilities as defined by the ADA, being a quadriplegic. The Plaintiff

      has encountered architectural barriers at the subject property. The barriers to access at

      the property have endangered his safety. The Plaintiff is also a member of the Plaintiff

      organization, THE INDEPENDENCE PROJECT, INC., discussed below in paragraph 9.

8.    Plaintiff, Ronald Moore has been to the subject property on numerous occasions, and

      intends to return to the subject property in the near future.

9.    Plaintiff THE INDEPENDENCE PROJECT, INC., is a nonprofit New Jersey

      coiporation. Members of this organization include individuals with disabilities as defined

      by the ADA. The purpose of this organization is to represe nt the interest of its members

      by assuring places of public accommodation are accessible t o and usable by the disabled

      and that its members are not discriminated against because of their disabilities.

10.   THE INDEPENDENCE PROJECT, INC. and its members have suffered and will

      continue to suffer direct and indirect injury as a result of the Defenda nt's discrimination

      until the Defendant is compelled to comply with the requirements of the ADA. One or

      more of its members has suffered an injury that would allow it to bring suit in its own

      right. THE INDEPENDENCE PROJECT, INC. has also been discriminated against

      because of its association with its disabled members and their claims.

11.   Defendant owns, leases, leases to, or operates a place of public accommodation as

      defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

      36.104. Defendant is responsible for complying with the obligations of the ADA. The

      place of public accommodation that the Defendant owns, operates, leases or leases to is
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      known as Mantoloking Village Plaza, and is located at 602 Man toloking Road, Brick, NJ

      08723.

12.   THE INDEPENDENCE PROJECT, INC. and Ronald Moore have a realistic, credible,

      existing and continuing threat of discrimination from the Defen dant's non-compliance

      with the ADA with respect to this property a s described but not necessarily limited to the

      allegations in paragraph 14 of this complaint. Plaintiffs have reasonable grounds to

      believe that they will continue to be subjected to discrimination in violation of the ADA

      by the Defendant. Ronald Moore desires to visit Mantoloking Village Plaza not only to

      avail himself of the goods and services available at the property but to assure himself that

      this property is in compliance with the ADA so that he and others similarly situated will

      have full and equal enjoyment of the property without fear of discrimination.

13.   The Defendant has discriminated against the individual Plaintiff and members of the

      corporate Plaintiff organization by denying them access to, and full and equal enjoymen t

      of, the goods, services, facilities, privileges, advantages and/or accommodatio ns of the

      buildings, as prohibited by 42 U.S.C. § 12182 et seq.

14.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

      in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

      1992 (or January 26, 1993, if Defenda nt has 10 or fewer employees and gross receipts of

      $500,000 or less). A preliminary inspection of Mantoloking Village Plaza has shown that

      violations exist. These violations that Ronald Moore perso nally encountered or observed

      include, but are not limited to:
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     Parking and Exterior Accessible Route

  a) Parking spaces throughout Mantoloking Village Plaza contain, slopes beyond limits
     within parking spaces and lack compliant accessible routes from accessible parking,
     violating Sections 402 and 502 of the 2010 Accessibility Standards. These conditions
     during numerous visits prevented Mr. Moore from unloading from his van freely and
     safely.

  b) Curb ramps provided to access stores at Mantoloking Village Plaza are unsafe for
     wheelchair users and are not provided in some areas of the center. The curb ramps
     contain excessive slopes, abrupt changes of level and lack level landings, violating
     Sections 402 and 406 of th e 2010 Accessibility Standards. Mr. Moore dealt with a lack
     of maneuvering space at the top of the curb ramp. These conditions wer e unsafe for Mr.
     Moore when he accessed the curb ramps, and posed a serious risk of injury to him.

  c) The exterior accessible route from parking spaces and throughout Mantoloking Village
     Plaza fails to provide a safe accessible route, violating Section 402 of the 2010
     Accessibility Standards. Mr. Moore was forced to travel in the traffic area of the center
     to get to the curb ramp and had to deal with cross slopes while accessing tenants.

  d) Mantoloking Village Plaza fails to provide a safe accessible route to the adjacent bus
     stop, street or sidewalk, violating Section 206.2.1 of the 2010 Accessibility Standards.
     The lack of an accessible route prevents the option of public transportation for Mr.
     Moore.

     Access to Goods and Services

  e) Payment counters throughout Mantoloking Village Plaza are mounted beyond the reach
     of Mr. Moore, violating Sections 308 and 904 of the 2010 Accessibility Standards,
     preventing Mr. Moore from accessing the counters.

  f) Entering tenants is impeded by abrupt changes of level at the base and slopes beyond
     limits, violating Section 404 of the 2010 Accessibility Standards. This creates a
     dangerous situation for Mr. Moore and risks his falling out of his wheelchair.

  g) Dunkin Donuts, Pizza Maker and Jersey Mikes fail to provide accessible dining tables for
     those in wheelchairs, violating Section 902 of the 2010 Accessibility Standards. Mr.
     Moore was unable to dine comfortably due to a lack of accessible tables.

     Restrooms

  h) Restrooms at Mantoloking Village Plaza including Dunkin Donuts, Pizza Maker, Jersey
     Mikes, Heads Up Hair Studio and Sea Star Nail & Spa were reported to be unsaf e for use
     by the plaintiff. Inspection revealed Mr. Moore was unable to use the restrooms safely
     due to a lack of accessibility. Including, inaccessible water closets which lack proper

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          controls and wheelchair maneuvering space violating Section 601 of the 2010
          Accessibility Standards.

      i) Restrooms at Dunkin Donuts, Pizza Make r, Jersey Mikes, Heads Up Hai r Studio and Sea
         Star Nail & Spa provide dispensers beyond reach of wheelchair users and were
         inaccessible to the plaintiff, violating Section 308 of the 2010 Accessibility Standards.

      j) Lavatories at Dunkin Donuts, Pizza Make r, Jersey Mikes, Heads Up Hair Stud io and Sea
         Star Nail & Spa lack knee clearance and accessibility which preve nted the plaintiff from
         freely accessing the lavatory, violating Section 606 the 2010 Accessibility Standards.

      k) Dunkin Donuts, Pizza Maker, Heads Up Hair Studio and Sea Star Nail & Spa provide
         restrooms that contain improper centerlines for the water closets and flush controls
         mounted on the wall side, violating Section 604 of the 2010 Accessibility Standards. Mr.
         Moore was unable to access flush controls while in the restrooms due to improper
         location.

      1) Using restrooms doors at Dunkin Donuts, Pizza Maker, Heads Up Hair Studio and Sea
         Star Nail & Spa is impeded by round door knobs, improper signage and a lack of
         maneuvering clearance, violating Section 404 of the 2010 Accessibility Standards.
         Round door knobs, stored goods and the lack of maneuvering space prevented Mr. Moore
         from easily accessing doors.

         Maintenance

      m) The accessible features of the facility are not maintain ed, and created barriers to acce ss
         for the Plaintiff, as set forth herein, in violation of 28 CFR §36.211.

14.      All of the foregoing violations are also violations of the 1991 Americans with Disabilities

         Act Accessibility Guidelines (ADAAG), and th e 2010 Standards for Accessible Design,

         as promulgated by the U.S. Department of Justice.

15.      The discriminatory violations described in paragraph 13 are not an exclusive list of the

         Defendant's ADA violations. Plaintiffs require the inspection of the Defendant's place of

         public accommodation in order to photograph and measure all of the discriminatory acts

         violating the ADA and all of the barriers to access. The individual Plaintiff, the members

         of the Plaintiff group, and all other individuals similarly situated, have been denied



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      access to, and have been denied the benefits of services, programs and activities of the

      Defendant's buildings and its facilities, and have otherwise been discriminated against

      and damaged by the Defendant because of the Defendant's ADA violations, as set forth

      above.    The individual Plaintiff, the members of the Plaintiff group and all others

      similarly situated will continue to suffer such discrimination, injury and dama ge without

      the immediate relief provided by the ADA as requested herein. In order to remedy this

      discriminatory situation, the Plaintiff requires an inspection of the Defendant's place of

      public accommodation in order to determine all of the areas of non-compliance with the

      Americans with Disabilities Act.

16.   Defendant has discriminated against the individual and corporate Plaintiffs by denying

      them access to full and equal enjoyment of the goods, services, facilities, privileges,

      advantages and/or accommodatio ns of its place of public accommoda tion or commercial

      facility in violation of 42 U.S.C. § 12 181 et seq. and 28 CFR 36.302 et seq. Furthermore,

      the Defendant continues to discriminate against the Plaintiff, and all those similarly

      situated by failing to make reasonable modifications in polici es, practices or procedure s,

      when such modifications are necessary to afford all offered goods, services, facilities,

      privileges, advantages or accommodations to individuals with disabilities ; and by failing

      to take such efforts that may be necessary to ensure that n o individua l with a disability is

      excluded, denied services, segregated or otherwise treated differently than other

      individuals because of the absence of auxiliary aids and services.

17.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

      Considering the balance of hardships between the Plaintiffs and Defendant, a remedy in



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      equity is warranted.    Furthermore, the public interest would not be disserved by a

      permanent injunction.

18.   Plaintiffs have retained the undersign ed counsel and is entitled to recover attorney's fees,

      costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28

      CFR 36.505.

19.   Defendant is required to remove the existing architectural barriers to the physically

      disabled when such removal is readily achievable for its place of public accommoda tion

      that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there

      has been an alteration to Defendant's place of public accommod ation since January 26,

      1992, then the Defendant is required to ensure to the maximum extent feasible, that the

      altered portions of the facility are readily accessible to and useable by individuals with

      disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

      Defendant's facility is one which was designed and constructed for first occupancy

      subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant's

      facility must be readily accessible to and useable by individuals with disabilities as

      defined by the ADA.

20.   Notice to Defendant is not required as a result of the Defendant's failure to cure the

      violations by January 26, 1992 (or January 26, 1993, i f Defendant has 10 or fewer

      employees and gross receipts of $500,000 o r less). All other conditions preced ent have

      been met by Plaintiffs or waived by the Defendant.

21.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs

      Injunctive Relief, including an order to require the Defendant to alter Mantoloking



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      Village Plaza to make its facilities readily accessible and useable to the Plaintiffs and all

      other persons with disabilities as defined by the ADA; or by closing the facility until such

      time as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:

      a.     The Court issue a Declaratory Judgment that dete rmines that the Defen dant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq.

      b.     Injunctive relief against the Defendant including an order to make all readily

             achievable alterations to the facility; or to make such facility readily a ccessible to

             and usable by individuals with disabilities to the extent required by the ADA; and

             to require the Defendant to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodation s to individuals with

             disabilities; and by failing to take such steps that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

      c.     An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.




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                               COUNT II
          VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

 22.   Plaintiffs re-allege all prior obligations as if fully set forth herein. Plaintiffs repeat the

       allegations contained in all of the p roceeding paragraphs.

 23.   Defendant's facility is a place of public accommodati on as defined by N.J.S.A. 10:5-5,

       (New Jersey Law Against Discrimination).

 24.   New Jersey law provides that all persons shall have the opportunity to obtain all the

       accommodations, advantages, facilities and privileges of any place of public

       accommodation without discrimination on the basis of disability. This opportunity is

       recognized and declared to be a civil right. (See, N.J.S.A. 10:5-4.)

25.    As a result of the aforementioned discrimination, Plaintiff, Ronald Moore has sustained

       emotional distress, mental anguish and suffering and humiliation, and other injuries, in

       violation of the New Jersey Law Against Discrimination.




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       WHEREFORE, Ronald Moore demands judgment for damages, attorneys' fees,

litigation expenses, including expert fees and costs pursuant to the New Jersey Law Against

Discrimination.



                                          Respectfully Submitted,




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